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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                  :
 REBECCA GOTTSCHALK,                              :
                                                  :     CIVIL ACTION
                Plaintiff,                        :
                                                  :     No. 2:19-cv-00264-JFC
         v.                                       :
                                                  :
 CREDIT ONE BANK, N.A.,                           :
                                                  :
                Defendant.                        :
                                                  :


                                              ORDER


       AND NOW, this _____
                      WK day of ____
                                  $SULO 2019, upon consideration of the parties’ Joint

Stipulation to Stay Pending Completion of Arbitration, it is hereby ORDERED and DECREED

that this action is stayed in its entirety pending completion of arbitrationDQGWKHFDVHZLOOEH

DGPLQLVWUDWLYHO\FORVHG8SRQFRPSOHWLRQRIWKHDUELWUDWLRQDSDUW\PD\ILOHDPRWLRQWR

UHRSHQWKLVFDVH.

                                                       BY THE COURT


                                                       V-R\)ORZHUV&RQWL
                                                       Honorable Joy Flowers Conti
                                                       United States District Court
